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                    j    Garriso~ Property and Casualty Insurance
                         Company                                                          RESERVATION OF
       ~ 6 -Certified Mail-                                                                      RIGHTS
       02276.4VLVL.JSS1733438923.03.02.40



      RYAN HALL
      27 CREEKSIDE DR
      PRESTONSBURG KY 41653-8915




      Review Your Property Claim

      March 6, 2019

      Dear Mr. Hall,

      I'm writing regarding the claim referenced below.

             ; USAA policyholder. . •· '               • Ryan Hall
             .. USAA member number:;                 · . 042003497.,001 ..
                Date of losi;-    ' : ..                •December 21. 1018 ·· ·
             • Locatlon,of iossf' ...                    Topmost, Kentucky

      Thank you for trusting USAA for your insurance needs. We're very sorry to learn that you have experienced a loss.

      We're investigating your claim to confirm whether the loss is covered under your policy. Please see the enclosed
      Reservation of Rights and Policy Provisions for information about your policy.

      We understand that this is a difficult situation. and we will strive to investigate the claim and provide you with more
      information in a timely manner.

      How to Contact Us
      Please send any correspondence or questions to us using one of the following options and include the
      claim/reference number above on each page mailed or faxed:

                    D       usaa.com or our mobile app:             Upload documents or post a secure message to your claim file
                                                                    through the Claim Communication Center.

                    II      Address:                                USAA Claims Department
                                                                    P.O. Box 33490
                                                                    San Antonio, TX 78265

                    G       Fax:                                    1-800·531-8669

                            Phone:                                  1-800-531-8722




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